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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, APRIL MUÑIZ,
   MARCUS MARTIN, NATALIE ROMERO,
   CHELSEA ALVARADO, JOHN DOE, and
   THOMAS BAKER,

                                 Plaintiffs,           Civil Action No. 3:17-cv-00072-NKM

   v.                                                      JURY TRIAL DEMANDED

   JASON KESSLER, et al.,

                                 Defendants.


    PLAINTIFFS’ RESPONSE TO DEFENDANT CANTWELL’S MOTION TO FILE BY
                                  FAX


         Plaintiffs do not object to Defendant Christopher Cantwell’s motion filed on April 16, 2021

  requesting permission to submit future filings by fax, instead of by mail (ECF No. 942).




   Dated: April 20, 2021                           Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

        I hereby certify that on April 20, 2021, I filed the foregoing with the Clerk of Court through
  the CM/ECF system, which will send a notice of electronic filing to:

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         I further hereby certify that on April 20, 2021, I also served the following non-ECF
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